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                                                     September 16, 2024

VIA CM/ECF ONLY
Hon. Mitchell J. Katz
U.S. Magistrate Judge
U.S. District Court, Northern District of New York
James M. Hanley Federal Building
100 S. Clinton Street
Syracuse, New York 13261

       Re: MO & AYEK V. ONONDAGA COUNTY ET AL.
           5:23-cv-01602 & 5:23-cv-01608-TMJ-MJK

Dear Judge Katz:

        I am writing to update the Court on the status of the above captioned cases. The NYSAG
has not yet concluded their investigation of the facts and circumstances surrounding the death of
the two minor passengers on September 6, 2023. Therefore, the ability to conduct discovery is
very limited. Mr. Sickinger and I have remained in contact and are prepared to move things
along once the NYSAG releases their findings, whereby allowing us to begin the exchange of
information.



                                                     Respectfully submitted,



                                                     Jesse P. Ryder

CC: John A. Sickinger (Via Efile)
